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6                                  UNITED STATES DISTRICT COURT

7                                          DISTRICT OF NEVADA

8      PAMELA PFEFFER,                                       )   CASE NO.: 2:21-cv-01428-APG-NJK
                                                             )
9                         Plaintiff,                         )
                                                             )
10                vs.                                        )   DISCOVERY PLAN AND
                                                             )   SCHEDULING ORDER
11    HARTFORD LIFE AND ACCIDENT                             )
      INSURANCE COMPANY,                                     )   (Special Scheduling Review
12                                                           )   Requested)
                          Defendants.                        )
13                                                           )
                                                             )
14

15
             Plaintiff, PAMELA PFEFFER (“Plaintiff”), and Defendant, HARTFORD LIFE AND
16
     ACCIDENT INSURANCE COMPANY (“Defendant”), jointly request special scheduling
17
     review. The parties submit the following discovery plan and order for this case.
18
             I.         Rule 26(f) Conference.
19
             In accordance with Fed. R. Civ. P. 26(f), a conference was held via email on
20
     September 28, 2021 between Matthew Maloney and Marie Casciari, counsel for Plaintiff,
21
     and Jenapher Lin and Jack Englert, Jr., counsel for Defendant. The parties agree that the
22
     standard discovery plan is not best suited for this lawsuit, for the reasons set forth below.
23
     According to LR 26-1(b)(7-8), the parties further certify that they have met and conferred
24
     regarding the possibility of using alternate dispute-resolution processes. The provisions of
25
     LR 26-1(b)(9) do not apply as no jury trial is demanded or allowed in this matter.
26



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1            II.      Nature of Case and Purpose of Special Review.

2            This case involves a claim for long-term disability benefits under an employee

3    benefits plan (“Plan”) sponsored by Plaintiff’s employer, the American Heart Association,

4    for the benefit of its employees. The Plan is funded by a group policy underwritten by

5    Defendant, which also administers claims for disability benefits under the Plan. This action

6    was specifically brought as a claim for benefits pursuant to § 502(a)(1)(B) of the Employee

7    Retirement Income Security Act of 1974 (“ERISA”) (29 U.S.C. § 1132 (a)(1)(B)). Plaintiff

8    also seeks attorneys’ fees and costs under ERISA § 502(g) (29 U.S.C. § 1132(g)).

9            A discovery plan and scheduling order are generally not required here because the

10   Court’s review will be based primarily on the claim file compiled by Defendant during the

11   claim and appeal process. LR 16-1(c)(1). Instead, the parties will file a proposed briefing

12   schedule. LR 16-1(c). Accordingly, the parties jointly request that this Court review and

13   adopt the proposed non-standard discovery and case schedule set forth below.

14           III.     Proposed Plan

15           The parties have conferred and agree as follows:

16           A.       Production of the Claim File: Defendant will produce a copy of the claim

17   file by October 29, 2021.

18           B.       Meet and Confer Period: Plaintiff contends that she is entitled to conduct

19   discovery in this matter, but first needs to review the claim file Defendant will be producing

20   in litigation. Plaintiff and Defendant will meet and confer by November 26, 2021 as to: 1)

21   the type and scope of discovery Plaintiff contends is permissible and should be conducted,

22   with reasonable specificity (including proposed written discovery where possible); and 2)

23   whether the parties agree regarding the contents of the claim file, including whether materials

24   should be added and/or removed therefrom. Any discovery that the parties agree is

25   permissible under ERISA shall be served by December 10, 2021.

26           C.       Briefing re: ERISA Discovery Disputes: To the extent that, after the meet

     and confer period, the parties disagree as to: 1) the permissible scope and type of discovery

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1    Plaintiff is seeking and/or 2) the contents of the claim file, on or before December 31, 2021,

2    the parties will simultaneously brief the Court and request a ruling on any remaining

3    disputes.

4            D.       Filing of ERISA Claim File and Briefing of the Merits of the Case: If no

5    discovery is served under Paragraph III.B and no discovery motions are filed under
6
     Paragraph III.C., on or before January 14, 2022, Defendant will file the claim file with this
7
     Court, the contents of which will be agreed upon by the parties.
8
             After the parties file a timely joint claim file submission, the parties anticipate this
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     matter will be resolved pursuant to dispositive motions filed under Fed. R. Civ. P. 52. The
10
     Parties propose a deadline of February 18, 2022 for cross-dispositive opening briefs and
11
     March 18, 2022 for cross-dispositive response briefs. If discovery motion(s) are filed under
12
     Paragraph III.C., above, the deadlines set forth in this Paragraph III.D. will be suspended.
13
     The parties will propose new dispositive briefing deadlines after any discovery motion(s)
14
     have been ruled upon to consider any additional discovery time permitted.
15
             IV.      Settlement.
16
             Plaintiff is amenable to engaging in early settlement discussions, whether it be
17
     through formal mediation or informal attempts to reach a resolution.
18

19
     DATED: October 4, 2021            DEBOFSKY SHERMAN CASCIARI REYNOLDS PC
20

21                                              By:      /s/ Matthew T. Maloney
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26                                                       Attorneys for Plaintiff PFEFFER



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1    DATED: October 4, 2021            HOLLAND & HART LLP

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                                                         Attorneys for Defendant HARTFORD
8

9
                                                IT IS SO ORDERED:
10
                                                Dated this
                                                      October 6,_2021
                                                                  day of                  , 2021.
11

12
                                                UNITED STATES MAGISTRATE JUDGE
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14                                                                                            17469750_v1


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